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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


WRIT OF HABEAS CORPUS
TO THE MARSHAL FOR THE DISTRICT OF MASSACHUSETTS, OR ANY OF HIS DEPUTIES, AND
TO:

Director, MCI-Cedar Junction, Walpole, MA

YOU ARE COMMANDED to have the body of Shaun Harrison, now in your custody, before the United

States District Court for the District of Massachusetts, United States Courthouse, 1 Courthouse Way,

Courtroom No. 25 on the 7th floor, Boston, Massachusetts, on Monday, February 10, 2020, at 2:45 P.M.

for the purpose of an arraignment and initial appearance in the case of United States of America v. Shaun

Harrison, Case No. 1-19-cr-10459-RWZ-12.

        And you are to retain the body of said Shaun Harrison while before said Court upon said day and

upon such other days thereafter as defendant’s attendance before said Court shall be necessary, and as

soon as may be thereafter to return said Shaun Harrison to the institution from which he was taken, under

safe and secure conduct, to be there imprisoned as if he had not been brought therefrom for the purpose

aforesaid. And have you then and there this Writ with your doings herein.

Dated this 7th day of February, 2020.



__/s/ Marianne B. Bowler____________
UNITED STATES MAGISTRATE JUDGE
                                                                ROBERT M. FARRELL
                                                                CLERK OF COURT


                                                        By:     /s/ Harold Putnam, Esq.
                                                                Deputy Clerk
